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From:           admin@foiaonline.gov
To:             Kevin Schmidt
Subject:        FOIA Tracking Number Change for request DOC-OS-2019-001211 (to DOC-IOS-2019-001211)
Date:           Tuesday, May 07, 2019 3:44:51 PM




The FOIA request DOC-OS-2019-001211 has had its Tracking Number changed to DOC-
IOS-2019-001211. This is normally due to the request being transferred to another agency (for
example, EPA to Dept. of Commerce) or to a sub-agency to process it. Additional details for
this request are as follows:

       Old Tracking Number: DOC-OS-2019-001211
       New Tracking Number: DOC-IOS-2019-001211
       Requester Name: Mr. Kevin Schmidt
       Date Submitted: 05/07/2019
       Long Description: A copy of the Commerce Secretary's final report to the President
       regarding the Section 232 Investigation on the Effect of Imports of Uranium on the
       National Security. The DOD response letter to the Section @#@ Investigation on the
       effect of Imports of Uranium on the National Security.
